
PER CURIAM
On consideration of the certified order of the Court of Appeals of Maryland disbarring respondent by consent from the practice of law in that jurisdiction; this court's March 5, 2019, order suspending respondent pending resolution of this matter and directing her to show cause why reciprocal discipline should not be imposed; and the statement of Disciplinary Counsel; and it appearing that respondent failed to file either a response to this court's order to show cause or her D.C. Bar R. XI, § 14(g) affidavit, it is
ORDERED that Ifeolu A. Fabayo is hereby disbarred from the practice of law in the District of Columbia. See In re Sibley , 990 A.2d 483 (D.C. 2010) ; In re Fuller , 930 A.2d 194, 198 (D.C. 2007) (rebuttable presumption of identical reciprocal discipline applies to all cases in which the respondent does not participate). It is
FURTHER ORDERED that for purposes of reinstatement the period of respondent's disbarment will not begin to run until such time as she files a D.C. Bar R. XI, § 14(g) affidavit.
